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                                          STATE OF MICHIGAN

                         IN THE fiz"CIRCUIT COURT FOR OAKLAND COUNTY


                                                                2018-165415-NO
         GEORGINA V~iLLIAMS,
                                                         Case No. 18-                  -NO
                       Plaintiff,
                                                             J U DG E MARTHA D.
         v                                               The Mc~f~St~N

         OUTBACK STEAKHOUSE
         OF FLORIDA, LLC,

                       Defendant.


         NEUMANN [.AW GROUP
        STEVEN A.L~~(P77013)
         CHR[S70PH~R K. COOKS(P35034)
         ATTORNEY FOR PLAINTIFF
         300 E. FRONT ST., STS.445
         TRAVERSE CI'T'Y, MI 49684
        (231)221-0050
        sieve(ai~neumannlawgroup.com
         chrlsCa~.neumanntaWaroup,com


                                    COMPLAINT'AIVD JURY DEMAND

                       There is no other pending or resolved civil action arising out ofthe
                       transaction or occurrence alleged in this complaint.
                                              cnnnpt_nr~ar

         NOW COMES the Plaintiff Georgina Williams, by and through her attorneys of record,

         Neumann Law Group, and fpr her Complaint against Defendant states as follows:


                      't.     That the Plaintiff, Georgina Williams, is a resident of Murrie#a,

         County of Riverside, State of California.




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                   2.      Defendant Outback Steakhouse of Florida, LLC is a foreign

    corporation which maintains its principal place of business in Florida and is licensed to

    conduct business in the County of tJakland, State of Michigan.

                   3.      That venue is proper in Oakland County, Michigan.

                   4.      That on or about February 19, 2017, Plaintiff Georgina Williams

    was a business invitee upon the premises of the Defendant's restaurant located at

    23501 Green~efd Road, Southfield, Michigan.

                   5.      That as the Plaintiff was walking to her table, she slipped and fiell

    on an overly-waxed and slippery float, which was neither open, obvious or visible to

    Mrs. Williams or other pa#tons.

                   6.      That after the fall, Monica Smith, Manager of Defendant f3utback

    Steakhouse of Florida, l.LC stated and admitted that the floor was very slippery.

                   7.      That after Plaintiff felt, Defendant's Manager, Monica Smith, took

    Plaintiff's name, viewed Plaintiff's driver's license and prepared an incident report, but
u
    refused to provide a cagy of the incident report to Plaintiff, nr even to show the incident

    report to the Plaintiff.
                   8.      That the Defendant has had longstanding, actual and constructive

    knowledge and notice of the fact tha# other patrons had encountered problems of

    u nreasonably dangerous and slippery overly-waxed floors at the subject location where

    Mrs. Williams fell, and on the floors of Defendant's other franchised Outback restaurants

    In Michigan, including but not limited to:

       a injuries incurred by Marjorie Sue Tuck (Tuck v Outback Steakhouse of Florida,

           Inc., (corporate predecessor to Defendant Outback Steakhouse of Florida, LLC}



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      2007 U.S. Dist. L.EXIS 4935} in a slip and fall which occurred on December 31,

      2003;

   • injuries incurred by a pregnant woman who slipped and fell on January 7, 2416 at

      the subject Defendant's place ofi business afi 23509 Greenfield Road, Southfield,

       Michigan, injuring the back of her head, back, coccyx and the right side of her

       abdomen;

   o injuries incurred by a Mrs. Treg[owne (Tregiowne v Outback Steakhouse of

       Florida, Inc., Michigan Lawyers Weekly, September 21, 1998) in a slip and fal{

       which occurred on March 10, 7998;

   o injuries incurred by Stella Poulos (Poulos v. Outback Steakhouse of Florida, Inc.,

      2Q08 U.S. Dist. LEXIS 61594)in a slip and fall which occurred on May 28, 2006;

and that there have been mul#iple other prior complaints to the Management of

Defendant's restaurants about slippery floors before the occurrence involving Plaintiff.

      9.      That ifi was then and there the duty of the Defendant to maintain safe

premises and to take steps to assure that dangerous and latent conditions did not exist

which posed a risk of harm and/or injury to the Plaintiff as a business invitee.
       1(7.   That notwithstanding its duties as hereinbefore narrated, Defendan# was

guifiy of one or more of the following negligent acts and/or omissions:

              (a)    Negligently and recklessly failing to maintain safe premises by over

waxing a floor in a main area of cusfamer traffic, posing a risk of harm and injury to

Georgina Williams;

              (b)    Negligently and recklessly failing to place cons or other warning

and/or devices on the floor to alert patrons that the floor was overly waxed and slippery;
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             (c}     Negligently and recklessly failing to immediately call in cus#odial

personnel to strip the floor and/or take steps to assure that its overly waxed status did

not pose a risk of harm and/or injury to the Plaintiff;

             (d}     Negligently and recklessly failing to have staff warn and advise their

patrons, business invitees and Plaintiff, before Plaintiff fell and was injured, that the

subject floor owned by Defendant was slippery.

       11.    That as a direct and proximate result of the negligence of the Defendant

as descrif~ed above, Plaintiff Georgina Williams slipped and felE, fracturing her right

shoulder and sustaining other injuries. Plaintiff has been caused to expend and/ar

expend on her behalf, large sums of money for medical and hospital care and treatment
                                                                                     of
and may be required to do so in the future. That the Plaintiff has sustained periods

disability in the pasfi after this accident and may likewise be required to do so in the
                                                                                     g as
future. Plainfiiff has been caused to suffer from extreme physica{ pain and sufferin

well as menta{ and emotional distress.
                                Count C —Premises Liability

       12.    Plaintiff incorporates the allegations as set forth in paragraphs 1-11 as

though fully restated herein.

       13.    On February 19, 2017, Plaintiff was a guest at the Outback Steakhouse

located in Southfield, Michigan.

       14.    As Plaintiff was escorted to her table by the hostess, she slipped on the

restaurant floor, falling on her right shoulder, right elbow and right hip.

       15.    The slipperiness o~ the floor was neither open, obvious or visible to

PEaintiff or other patrons.



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           16.      Plaintiff suffered a fractured and injured right shoulder with painful tearing,

    bruising and swe{ling in her shoulder, elbow and hip.

           17.      Plaintiff was an invitee on Defendant's premises.

           18.      DEfendant owed Plaintiff the common law duty of due care of an invitee,

    including but not limited to.

                             a. The duty to maintain the premises in a reasonably safe
                                    condition;
                             b. The duty to warn invitees of dangers Defendant knows of,
                                should know of, or has created;

                             c.     The duty to inspect the premises to discover possible
                                    dangerous conditions;

                             d. The duty to use ordinary care to protect an invifse from risks
                                of harm from a condition on the premises.

            19.     Defendant breached said duties of care in, but nat limited to, the fnflowing

     particulars:

                             a.     Not maintaining its flooring in a safe condition.
0
                              b.    Not warning its invitees or properly equipping them with
                                    crucial information necessary to their safety.

                             c.     Not inspecting the premises to ensure that it was free and
                                    clear of dangerous defects; and

                             d.     Nat properly training or overseeing the methods used by its
                                    employees in the. proper use of f[ooring cleaning supplies
                                    and practices.

            20.     Defendant knew, or in the exercise of ordinary care should have known,
                                                                                without proper
     that the passibility of invi#ees becoming inJured on its fifoor was likely

     training or oversight of its employees.




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      21.      As a direct and proximate resulf of Defendanfi's breach of the

aforementioned du#ies of care, Plaintiff was injured in, but not limited to, the following

particulars:

                        a.    Fractured Right Shoulder;
                        b.    Massive Rotator Cuff Tear;
                       c.     Complete Rupture of the Infra-Articular Biceps Tendon;
                       d.     Surgery on Right 5houfder;
                       e.     Extensive Physical Therapy and Rehabilitation;
                       f.     Muscle Weakness;
                       g.     Muscle Swelling;
                        h.    Acute Pain;
                        i.    Decreased Mobility;
                       ~.     BruisinglContusions;
                        k.    Painful Range of Motion
                        I
                        .     Trauma to Shoulder, Neck, Hip and Back;
                         m.   Difficulty Initiating Sleep;
                        n.    Headaches;
                        o.    Nausea;
                         p.   Nocturnal Waking;
                        q.    Nocturna{ Pain;
                         r.   General Weakness;
                       s.     Past, present, and future medical treatment;
                        t.    Psychalogica! harm and injury;
                         u.   Loss of the enjoyment of life.


                                   Count !I —Negligence


       22.     Plaintii~ incorporates by reference the allegations contained in paragraphs

1-21 herein.

       23.     Defendant Outback Steakhouse of Florida, L.LC owed the Plaintiff herein
                                                                           habitable
the duty of due and reasonable care, in keeping the premises in a safe and

condition.

       24.     Defendanfi breached their duty of care to Plaintiff in not maintaining its

floating in a safe condition.
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       25.     On February ~9, 2017, Plaintiff Georgina Williams was a business invitee

of Defendant Outback Steakhouse of Florida, LLC at the franchise {ocation of 23549

Greenfield Road, Southfield, Michigan.

       26.     On February 19, 2Q17, as Plaintiff was being led to a table at Defendant's

restaurant, she slipped on the overly waxed and slippery f[aor, failing on her right

shoulder, right elbow and right hip.

       27.     Defendant breached its duty of care to Plaintiff in failing to keep the

premises in a safe condition after having actual and/or constructive knowledge of the

existence of the hazard and the need to make necessary safety revisions.

       28.     Because of Defendant's breach of their duties, Plaintiff suffered harm and

damages, which are included, but limited to the aforementioned injuries listed in

paragraph number 21.
                                   Count ttl --Nuisance

       29.     Plaintiff incorporates by refierence the al{egations contained in paragraphs

1-28 herein.

       30.     That the direct and proximate cause of Plaintiff Georgina Williams' injuries

was the treacherous, slippery, unsafe and overly waxed floor, which was created and

 maintained by Defendant, and which unreasonably exposed invitees/customers such as
                                                                                          .
Georgina Williams to an unreasonable risk of danger, and which constituted a nuisance

       31.     That as fhe direct and proximate result of fhe aforesaic! nuisance, Plaintiff

Georgina Williams was caused to suffer and sustain the severe and subs#antis[ injuries

 herein before set forth with particularity in paragraph 21.




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      32.    That the damages attributable to the aforesaid injuries far exceed the sum

of ~r►ventyfive thousand dollars ($25,000.00)

             WHEREFORE, Plaintiff asks the Court to award her damages against

Defendant in whatever amount Plaintiff is found to be entitled to in excess of

$25,000.00, plus interest, costs, attorney fees, and any other amount that is equitable.




Dated: April ~a, 2018                           NEUMANN LAW GROUP

                                         By:
                                                Steve A. L.ee 77013}
                                                Christopher K. Cooke (P35034)
                                                Attorneys for Plaintiff
                                                300 E. Front St., Ste. 445
                                                Traverse City, MI 49684
                                                (231} 221-0540




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                                 JURY DEMAND

           Plaintiff Georgina Williams demands a jury trial.



Dated: April~,2018                            NEUMANN LAW GROUP

                                       By:
                                              Steve A. Lee 77013)
                                              Christopher K, Cooke (P35034)
                                              Attorneys far Plaintiff
                                              300 E. Front St,, Ste. 445
                                              Traverse City, MI 49684
                                             (231)221-0500




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